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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                      8:23CR185

       vs.
                                                                      ORDER
CHRISTOPHER GRUTEL,

                     Defendant.


       This matter is before the Court on Defendant’s Unopposed Motion to Extend Pretrial
Motion Deadline, (Filing No. 38). The motion is unopposed by the government and the co-
defendant. For good cause shown, the Court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s Unopposed Motion to Extend Pretrial Motion Deadline, (Filing No.
             38), is granted.

      2)     Pretrial motions shall be filed by November 22, 2023.

      3)     In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of
             justice will be served by granting this motion and outweigh the interests of the
             public and the defendant in a speedy trial. Any additional time arising as a result
             of the granting of this motion, that is, the time between September 19, 2023 and
             November 22, 2023, shall be deemed excludable time in any computation of time
             under the requirement of the Speedy Trial Act. Failure to grant this motion would
             deny counsel the reasonable time necessary for effective preparation, taking into
             account the exercise of due diligence, and the novelty and complexity of the case.
             The failure to grant this motion might result in a miscarriage of justice. 18 U.S.C.
             § 3161(h)(7)(A) & (B). Failing to timely object to this order as provided under this
             court’s local rules will be deemed a waiver of any right to later claim the time
             should not have been excluded under the Speedy Trial Act.

      Dated this 20th day of September, 2023.

                                                   BY THE COURT:

                                                   s/ Susan M. Bazis
                                                   United States Magistrate Judge
